

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-68,012-01






CORNEALIOUS SWIST, Relator


v.


 390TH DISTRICT COURT, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. 9024103-A
			

FROM TRAVIS COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original jurisdiction
of this Court.  In it, he contends that he filed an application for a writ of habeas corpus in the 390th District
Court of Travis County, that more than 35 days have elapsed, and that the application  has not yet been
forwarded to this Court. Relator contends that the district court entered an order designating issues on
January 9, 2007.

	 In these circumstances, additional facts are needed.  The respondent, the judge of the 390th District
Court of Travis County, is ordered to file a response with this Court by having the District Clerk submit
the records on such habeas corpus applications or by setting out the reasons that no findings have been
made since the order designating issues was entered.  This application for leave to file a writ of mandamus
will be held in abeyance until the respondent has submitted the appropriate response.  Such response shall
be submitted within 30 days of the date of this order.


Filed: August 22, 2007

Do not publish	


